            Case 8:22-bk-03187-CPM        Doc 13    Filed 08/31/22    Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov

ALICIA M. GLOVER,                                        Case No. 8:22-bk-03187-CPM
     Debtor(s).                                          Chapter 13
                                           /

                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on or before September 1, 2022, a true and correct copy of the
Court’s Order Granting Motion to Extend Time to File Schedules, Statements and Chapter 13 Plan
(Doc. No. 11) was served upon the following parties by CM/ECF electronic mail or by U.S. Mail,
first-class, postage pre-paid.

See attached Mailing Matrix

                                           /s/ Kenneth R. Case
                                           Kenneth R. Case, Esq.
                                           FBN: 0073758
                                           BROWN & ASSOCIATES LAW & TITLE, P.A.
                                           11373 Countryway Blvd.
                                           Tampa, FL 33626
                                           T: (813) 528-4044
                                           F: (813) 855-8485
                                           E: kenny@brownalt.com
                              Case 8:22-bk-03187-CPM                Doc 13       Filed 08/31/22         Page 2 of 3
Label Matrix for local noticing                      United States Trustee - TPA7/13 7                    Ahf
113A-8                                               Timberlake Annex, Suite 1200                         1235 Old Alpharetta Rd, Suite 180
Case 8:22-bk-03187-CPM                               501 E Polk Street                                    Alpharetta, GA 30005-2902
Middle District of Florida                           Tampa, FL 33602-3949
Tampa
Fri Aug 19 15:46:38 EDT 2022
(p)AMERICAN HONDA FINANCE                            (p)AR RESOURCES INC                                  (p)CAINE & WEINER COMPANY
P O BOX 168088                                       PO BOX 1056                                          12005 FORD ROAD 300
IRVING TX 75016-8088                                 BLUE BELL PA 19422-0287                              DALLAS TX 75234-7262



Capio Partners Llc                                   Capital Accounts                                     Department of Revenue
2222 Texoma Pkwy Ste 150                             Po Box 140065                                        PO Box 6668
Sherman, TX 75090-2481                               Nashville, TN 37214-0065                             Tallahassee, FL 32314-6668



Dept Of Education/Neln                               (p)I C SYSTEM INC                                    Internal Revenue Service
121 S 13th St                                        LEGAL DEPARTMENT                                     P.O. Box 7346
Lincoln, NE 68508-1904                               PO BOX 64444                                         Philadelphia, PA 19101-7346
                                                     SAINT PAUL MN 55164-0444


LVNV Funding, LLC                                    Law Offices Mba                                      Miramedrg
Resurgent Capital Services                           3400 Texoma Pkwy Ste 100                             111 West Jackson
PO Box 10587                                         Sherman, TX 75090-1916                               Chicago, IL 60604-3589
Greenville, SC 29603-0587


Nationstar/Mr Cooper                                 (p)PARAMOUNT RECOVERY SYSTEMS                        Quality Asset Recovery
8950 Cypress Waters Blvd                             ATTN SUSAN ROCKHOLD                                  7 Foster Ave Ste 101
Coppell, TX 75019-4620                               7524 BOSQUE BLVD SUITE L                             Gibbsboro, NJ 08026-1191
                                                     WACO TX 76712-3772


Verizon Wireless                                     Alicia M Glover                                      Jon Waage
Po Box 650051                                        8818 Poe Dr                                          P O Box 25001
Dallas, TX 75265-0051                                Hudson, FL 34667-8516                                Bradenton, FL 34206-5001



Kenneth R Case
Consumer Law Attorneys
2727 Ulmerton Rd., Ste. 270
Clearwater, FL 33762-3368




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


American Honda Finance Corporation                   Ar Resources Inc                                     Caine Weiner
National Bankruptcy Center                           1777 Sentry Pkwy W                                   Po Box 55848
P.O. Box 168088                                      Blue Bell, PA 19422                                  Sherman Oaks, CA 91413
Irving, TX 75016-8088
                              Case 8:22-bk-03187-CPM                   Doc 13    Filed 08/31/22         Page 3 of 3
I.C. System, Inc                                     Paramount Recovery Sys
Po Box 64378                                         Po Box 23369
Saint Paul, MN 55164                                 Waco, TX 76702




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Nationstar Mortgage LLC                           (u)Deptednelnet                                      (u)Midlandcre




End of Label Matrix
Mailable recipients    21
Bypassed recipients     3
Total                  24
